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                                           8                         IN THE UNITED STATES BANKRUPTCY COURT

                                           9                                        THE DISTRICT OF ARIZONA

                                          10   In re:                                              Chapter 11 Proceedings

                                          11   DELTA MECHANICAL INC.                               Case No. 2:15-bk-13316-GBN
                                               NEVADA DELTA MECHANICAL, INC.                       Case No. 2:15-bk-13327-GBN
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                                          12   CD PLUMBING INC.                                    Case No. 2:15-bk-13328-GBN
   4250 NORTH DRINKWATER BOULEVARD




                                               ARIZONA DELTA MECHANICAL, INC.                      Case No. 2:15-bk-13330-GBN
     SCOTTSDALE, ARIZONA 85251-3693




                                          13   CALIFORNIA DELTA MECHANICAL, INC.                   Case No. 2:15-bk-13331-GBN
                                               GEORGIA DELTA MECHANICAL, INC.                      Case No. 2:15-bk-13332-GBN
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                                          14   NEW MEXICO DELTA MECHANICAL, INC.                   Case No. 2:15-bk-13334-GBN
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                                               COLORADO DELTA MECHANICAL INC.                      Case No. 2:15-bk-13335-GBN
                                          15   CAROLINA DELTA MECHANICAL, INC.                     Case No. 2:15-bk-13336-GBN
                                               FLORIDA DELTA MECHANICAL, INC.                      Case No. 2:15-bk-13339-GBN
                                          16   TEXAS DMI, INC.                                     Case No. 2:15-bk-13341-GBN
                                               DELTA MECHANICAL, INC.
                                          17                                                       Joint Administration Under
                                                                                                   Case No. 2:15-bk-13316-GBN
                                          18                             Debtors.

                                          19                                                       MOTION FOR ENTRY OF A FINAL
                                               This filing applies to:                             DECREE AND AN ORDER CLOSING
                                          20                                                       THE REORGANIZED DEBTORS’
                                                           ALL DEBTORS S                           BANKRUPTCY CASES
                                          21
                                                           ALL REORGANIZED DEBTORS
                                          22
                                               DELTA MECHANICAL INC.
                                          23   NEVADA DELTA MECHANICAL, INC.
                                               ARIZONA DELTA MECHANICAL, INC.
                                          24   CALIFORNIA DELTA MECHANICAL, INC.
                                               GEORGIA DELTA MECHANICAL, INC.
                                          25   COLORADO DELTA MECHANICAL INC.
                                               CAROLINA DELTA MECHANICAL, INC.
                                          26   FLORIDA DELTA MECHANICAL, INC.
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                                           1            Delta Mechanical Inc., Nevada Delta Mechanical, Inc., Arizona Delta Mechanical, Inc.,

                                           2   California Delta Mechanical, Inc., Georgia Delta Mechanical, Inc., Colorado Delta Mechanical,

                                           3   Inc., Carolina Delta Mechanical, Inc., and Florida Delta Mechanical, Inc., (collectively, the

                                           4   “Reorganized Debtors”), through counsel undersigned, hereby move the Court to enter a final

                                           5   decree and close their bankruptcy cases pursuant to § 350(a) of the United States Bankruptcy Code

                                           6   and Rule 3022 of the Federal Rules of Bankruptcy Procedure. This motion is supported by the

                                           7   following memorandum of points and authorities.

                                           8            I. FACTUAL BACKGROUND

                                           9            1.    On October 19, 2015, the Reorganized Debtors, along with certain affiliates, filed

                                          10   their respective voluntary petitions for relief under Chapter 11 of the Bankruptcy Code in the

                                          11   United States Bankruptcy Court for the District of Arizona.

                                          12            2.    On November 5, 2015, the Court entered an order approving the joint administration
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                                          13   of the bankruptcy cases of the Reorganized Debtors and their debtor affiliates.
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                                          14            3.    On June 2, 2017, the First Amended Plan of Reorganization Dated June 2, 2017 as
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                                          15   Amended (the “Plan”) and the attendant disclosure statement (the “Disclosure Statement”) were
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                                          16   filed.

                                          17            4.    On January 31, 2018, the Court entered its Order Confirming First Amended Joint

                                          18   Plan of Reorganization Dated June 2, 2017 as Amended (the “Confirmation Order”) modifying

                                          19   and confirming the Plan.

                                          20            5.    The Confirmation Order was never appealed.

                                          21            6.    No other appeals deriving from this case are currently pending, although there is the

                                          22   possibility of a future appeal relating to a prior ruling by the Court regarding pre-confirmation fees

                                          23   and costs incurred by Schian Walker, P.L.C., Keegan, Linscott & Kennon, P.C., and Kirk

                                          24   McCarville, P.C.

                                          25            7.    The Plan, as modified by the Confirmation Order, reorganized the Reorganized

                                          26   Debtors, and called for the dismissal of the bankruptcy cases of certain debtor affiliates (the

                                          27   “Dismissed Debtors”).

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                                           1          8.      The previously pending bankruptcy cases of the Dismissed Debtors have been

                                           2   dismissed.

                                           3          9.      With the possible exception of certain fees which Polsinelli P.C. (“Polsinelli”) may

                                           4   assert to be owed under the Plan, the Reorganized Debtors have paid, as required by the Plan or in

                                           5   accordance with an agreement reached with the implicated claimant, all of the authorized

                                           6   administrative expenses of the Reorganized Debtors’ bankruptcy estates.

                                           7          10.     The Reorganized Debtors have been in contact with Polsinelli regarding the fees it

                                           8   alleges to be payable, and expect to receive and invoice, and to come to an agreement on payment

                                           9   terms, in the near future.

                                          10          11.     Subsequent to entry of the Confirmation Order, the Reorganized Debtors filed

                                          11   objections (the “Claim Objections”) to more than one hundred claims.

                                          12          12.     To the Reorganized Debtors’ knowledge, only one claim objection, filed in
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                                          13   connection with a claim asserted by AmTrust North America, on behalf of Wesco Insurance
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                                          14   Company and Technology Insurance Company (the “AmTrust Claim Objection”), remains
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                                          15   unresolved.
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                                          16          13.     A negotiated resolution of the AmTrust Claim Objection has been reached, and the

                                          17   Reorganized Debtors expect a stipulation evidencing that resolution to be filed in the near future.

                                          18          14.     Upon approval of the stipulation resolving the AmTrust Claim Objection, all of the

                                          19   Claim Objections will have been resolved.

                                          20          15.     During the course of the Reorganized Debtors’ bankruptcy proceedings, they

                                          21   initiated five adversary proceedings (Case Nos. 2:17-ap-00674, 2:17-ap-00675, 2:17-ap-00676,

                                          22   2:17-ap-00677 and Case No. 2:17-ap-00678, the “Adversary Proceedings”).

                                          23          16.     All of the Adversary Proceedings have been resolved and concluded.

                                          24          17.     Upon information and belief, the adversary proceeding commenced by the Official

                                          25   Committee of Unsecured Creditors, Case No. 2:16-ap-00226, has been resolved and is only

                                          26   awaiting the lodging of a dismissal order.

                                          27          18.     On, or about, July 13, 2016, Reorganized Debtor California Delta Mechanical, Inc.

                                          28   (“California Delta”) initiated a collection action in the Superior Court of California, County of Los

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                                           1   Angeles, against Professional Services Corporation and Plaza Towers Condominium Association

                                           2   (the “Plaza Towers Litigation”).

                                           3          19.     Certain defendants in the Plaza Tower Litigation have asserted counterclaims

                                           4   against California Delta.

                                           5          20.     California Delta asserts that some, if not all, of the claims asserted against it in the

                                           6   Plaza Towers Litigation were discharged upon confirmation of the Plan, and has filed a motion in

                                           7   the Plaza Towers Litigation requesting a ruling to that effect.

                                           8          21.     Although the Reorganized Debtors do not currently foresee the need for this Court

                                           9   to enter any orders relating to the Plaza Towers Litigation, they reserve their right to reopen their

                                          10   bankruptcy cases and seek relief in the future, if that proves necessary.

                                          11          22.     Other than the Plaza Towers Litigation, the Reorganized Debtors are not aware of

                                          12   any legal proceedings in which they anticipate a need for this Court to become involved.
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                                          13          23.     The Plan, as ultimately amended, appointed Peter S. Davis, C.P.A., by and through
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                                          14   Simon Consulting, L.L.C. as agent for the unsecured creditors (the “Unsecured Creditor Agent”).
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                                          15          24.     The Unsecured Creditor Agent is in place and, to the Reorganized Debtors’
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                                          16   knowledge, performing the duties allotted to him under the Plan.

                                          17          25.     The Reorganized Debtors have been cooperating with the Unsecured Creditor Agent

                                          18   to address concerns that have been expressed to date, and will continue to cooperate with the

                                          19   Unsecured Creditor Agent to address any concerns that may arise in the future.

                                          20          26.     To date, the Reorganized Debtors have, in accordance with the Plan, made

                                          21   distributions to creditors holding allowed claims and entitled to receive distributions under the Plan

                                          22   in the amount of approximately $1,600,000.

                                          23          27.     Additionally, as provided for in the Plan, Chrome, Inc. (“Chrome”) has liquidated,

                                          24   or is in the process of liquidating, two pieces of real estate to support the payments called for under

                                          25   the Plan.

                                          26          28.     Upon information and belief, the condemnation of a piece of real estate owned by

                                          27   Chrome and known as the “Signal Butte Property” resulted in the payment of approximately

                                          28   $1,000,000 to one of the Reorganized Debtors’ secured creditors (See Dkt.# 1483).

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                                           1          29.     Upon information and belief, another piece of real estate owned by Chrome and

                                           2   known as the “Gilbert Property” is under contract and, upon closing, will result in another

                                           3   substantial payment to the Reorganized Debtors’ creditors (See Dkt. # 1509).

                                           4          30.     Since entry of the Confirmation Order, the Reorganized Debtors submit that they

                                           5   have maintained substantial compliance with the terms and conditions of the confirmed Plan.

                                           6          31.     The Reorganized Debtors have filed, or will file, all required post-confirmation

                                           7   reports and will promptly pay any unpaid fees owing to the United States Trustee’s office.

                                           8          32.     In light of the foregoing, and of the ongoing financial burden presented by the fees

                                           9   payable to the United States Trustee’s office, the Reorganized Debtors do not believe that there is

                                          10   any need for its bankruptcy case to remain open.

                                          11          33.     The Reorganized Debtors submit that their estates have been fully administered, and

                                          12   that a final decree should be entered in their Chapter 11 cases.
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                                          13          II. LEGAL ARGUMENT
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                                          14          The closure of a reorganized debtor’s bankruptcy case is governed by 11 U.S.C. § 350(a),
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                                          15   which provides: “After an estate is fully administered and the court has discharged the trustee, the
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                                          16   court shall close the case.” Rule 3022 of the Federal Rules of Bankruptcy Procedure similarly

                                          17   provides that “[a]fter an estate is fully administered in a chapter 11 reorganization case, the court,

                                          18   on its own motion or on motion of a party in interest, shall enter a final decree closing the case.” In

                                          19   assessing a request to close a bankruptcy case, Courts have often considered the factors enunciated

                                          20   in the advisory committee note to Rule 3022.

                                          21                  Entry of a final decree closing a chapter 11 case should not be
                                          22                  delayed solely because the payments required by the plan have not
                                                              been completed. Factors that the court should consider in
                                          23                  determining whether the estate has been fully administered include
                                                              (1) whether the order confirming the plan has become final, (2)
                                          24                  whether deposits required by the plan have been distributed, (3)
                                                              whether the property proposed by the plan to be transferred has been
                                          25                  transferred, (4) whether the Reorganized Debtors or the successor of
                                          26                  the Reorganized Debtors under the plan has assumed the business or
                                                              the management of the property dealt with by the plan, (5) whether
                                          27                  payments under the plan have commenced, and (6) whether all
                                                              motions, contested matters, and adversary proceedings have been
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                                           1                   finally resolved. Fed. R. Bankr. P. 3022, Advisory Committee Note
                                                               (1991).
                                           2
                                                       In these cases, the aggregation of the aforementioned factors weighs heavily in favor of the
                                           3
                                               entry of a final decree for the Reorganized Debtors.
                                           4
                                                       - The Confirmation Order was entered on January 31, 2018, was never appealed, and is
                                           5
                                               therefore plainly final.
                                           6
                                                       - No deposits were required to be posted or distributed under the Plan.
                                           7
                                                       - The only real estate proposed to be transferred under the Plan are the Signal Butte
                                           8
                                               Property and the Gilbert Property, and they have been, or are in the process of, being liquidated in
                                           9
                                               support of the Plan.
                                          10
                                                       - The Reorganized Debtors have continued and fully assumed the management of the
                                          11
                                               debtors’ business operations and affairs.
                                          12
                                                       - All of the payments required to be made on the effective date of the Plan were made in
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                                               accordance with the Plan or an agreement with the implicated claimant. The Reorganized Debtors
                                          14
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                                               are making payments to creditors as they become due under the Plan, or as otherwise agreed, and
                                          15
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                                               intend to continue to do so.
                                          16
                                                       - All of the Adversary Proceedings and Claim Objections have been, or will soon be,
                                          17
                                               resolved. The only legal action in which the Bankruptcy Court may need to become involved in
                                          18
                                               the future is the Plaza Towers Litigation and, if the need arises, this case may be re-opened to the
                                          19
                                               extent necessary for this Court to issue any future rulings necessary.
                                          20
                                                       Based upon all the foregoing, the Reorganized Debtors submit that their estates have been
                                          21
                                               fully administered, within the meaning of 11 U.S.C. § 350(a), and nothing in the Reorganized
                                          22
                                               Debtors’ reorganization or the continued implementation of the Plan requires an open
                                          23
                                               administrative bankruptcy case or justifies the continued accrual of fees payable to the United
                                          24
                                               States Trustee’s office.
                                          25
                                                       WHEREFORE, the Reorganized Debtors respectfully requests that this Court enter a final
                                          26
                                               decree and close the above-captioned jointly-administered Chapter 11 cases, while reserving
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                                           1   jurisdiction to decide any issues relating to the Plaza Towers Litigation, or any other matter

                                           2   relating to the implementation or interpretation of the Plan, should the need arise.

                                           3          DATED: June 27, 2019
                                                                                             SACKS TIERNEY P.A.
                                           4

                                           5
                                                                                             By:                        _________
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                                          27                                                        Mortgage Pass-Through Certificates, Series
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                                               Air Cold Supply
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                                          19                                                 Equalization

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